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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
PRECIOUS GRIER                                        )        CASE NO. 22-57069-LRC
                           DEBTOR.                    )
---------------------------------------------------------------------------------------------------
                                                      )
SPECIALIZED LOAN SERVICING LLC )
AS SERVICING AGENT FOR                                )
DEUTSCHE BANK NATIONAL TRUST )
COMPANY, AS TRUSTEE FOR                               )
MORGAN STANLEY ABS CAPITAL I                          )
INC. TRUST 2006-HE3 MORTGAGE                          )
PASS-THROUGH CERTIFICATES,                            )
SERIES 2006-HE3                                       )
                           MOVANT,                    )
                                                      )        CONTESTED MATTER
V.                                                    )
                                                      )
PRECIOUS GRIER                                        )
S. GREGORY HAYS, TRUSTEE                              )
                           RESPONDENTS.               )
____________________________________)

                                          NOTICE OF HEARING

         PLEASE TAKE NOTICE Specialized Loan Servicing LLC, has filed a Motion for Relief
from the Automatic Stay and related papers with the Court seeking an order on the Motion for
Relief from the Automatic Stay.
         PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion for Relief from the Automatic Stay at the following
number: (toll-free number:833-568-8864; access code 161 346 1602), at 10:00 A. M. on
October 27, 2022 in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, Georgia 30303.
         Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as
determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
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Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.
       Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.
S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also
mail a copy of your response to the undersigned at the address stated below.
       If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.


September 28, 2022



                                                             /s/Chad R. Simon
                                                             Chad R. Simon
                                                             Georgia Bar No. 646919
                                                             Bonial & Associates
                                                             Chad R. Simon
                                                             Managing Georgia Attorney
                                                             P.O. Box 80727
                                                             Atlanta, GA 30366
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                                                             chad.simon@bonialpc.com
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                             UNITED STATES BANKRUPTCY COURT
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IN RE:                                                )        CHAPTER 7
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PRECIOUS GRIER                                        )        CASE NO. 22-57069-LRC
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                                                      )        CONTESTED MATTER
V.                                                    )
                                                      )
PRECIOUS GRIER                                        )
S. GREGORY HAYS, TRUSTEE                              )
                           RESPONDENTS.               )
____________________________________)

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW, Specialized Loan Servicing LLC as servicing agent for Deutsche Bank

National Trust Company, as Trustee for Morgan Stanley ABS Capital I Inc. Trust 2006-HE3

Mortgage Pass-Through Certificates, Series 2006-HE3 (“Movant”), a secured creditor in the

above-captioned case, by and through counsel, and moves this Court to enter an order granting

its request for relief from the automatic stay imposed by 11 U.S.C. § 362 and respectfully shows

the Court as follows:

         1.       On September 6, 2022, Debtor filed a petition with the Bankruptcy Court for the

Northern District of Georgia under Chapter 7 of Title 11 of the United States Bankruptcy Code.

         2.       Movant holds a Promissory Note secured by the Security Deed which describes

real property owned by Debtor and known as: 100 Bradley Street, Covington, GA 30016
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(“Property”). A copy of the Note, Security Deed and Assignment of Mortgage, are attached

hereto as Composite Exhibit “A” respectively.

       3.      Debtor executed a promissory note secured by a mortgage or deed of trust. The

promissory note is either made payable to Creditor, has been duly indorsed, or creditor, directly

or through an agent, has possession of the promissory note and may enforce the promissory note

as a transferee in possession. Creditor is the original mortgagee or beneficiary or the assignee of

the mortgage or deed of trust. If the original promissory note is lost or destroyed, then Creditor

will seek to prove the promissory note using a lost note affidavit.

       4.      Upon information and belief, the approximate payoff, exclusive of legal fees and

expenses incurred in the connection with the instant motion, due and owing to the Movant as of

September 19, 2022 is $217,948.34.

       5.      According to an internal valuation by the Movant conducted on August 12, 2022,

the value of the Property is approximately $260,000.00.

       6.      Debtor is in breach of the Note and Security Deed by failing to make the

necessary payments to Movant and is now due for the May 1, 2020. The total arrearages are

$35,418.60.

       7.      Cause exists for relief from the automatic stay. Direct mortgage payments are not

being made to the Movant. As such, Movant’s interests are not adequately protected.

       WHEREFORE, Movant prays the Court as follows:

       1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its

security interest in the Property including but not limited to any non-bankruptcy remedies to

foreclose and obtain possession;

       2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this

case and so Movant may immediately enforce and implement this order granting relief from the

automatic stay;
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       3.      As an alternative to the relief prayed for above, grant adequate protection to

Movant for its interest in the Collateral;

       4.      Movant specifically requests permission to communicate with the Debtors and

Debtor’s counsel to the extent necessary to comply with applicable non-bankruptcy law; and

       5.      Grant Movant such other and further relief as the Court deems just and proper.




                                                           /s/Chad R. Simon
                                                           Chad R. Simon
                                                           Georgia Bar No. 646919
                                                           Bonial & Associates
                                                           Chad R. Simon
                                                           Managing Georgia Attorney
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
Regular U.S. Mail and/or Electronic Mail to the parties listed on the attached service list, this
28th day of September, 2022.

SERVICE LIST

Precious Grier
100 Bradley St.
Covington, GA 30016

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

U.S. Trustee
Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303


                                                              /s/Chad R. Simon
                                                              Chad R. Simon
                                                              Georgia Bar No. 646919
                                                              Bonial & Associates
                                                              Chad R. Simon
                                                              Managing Georgia Attorney
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